         Case 1:21-cr-00397-TFH Document 41 Filed 04/25/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )       CRIMINAL NO.
                                            )
              v.                            )       1:21-cr-00397-TFH
                                            )
CHRISTIAN KULAS                             )       VIOLATION
                                            )
                        Defendant.          )       40 U.S.C. § 5104(e)(2)(G)
                                            )       (Parading, Demonstrating, or
                                            )       Picketing in a Capitol Building)

  THE PARTIES’ JOINT NOTICE REGARDING SENTENCING PROCEEDINGS ON
                             APRIL 26, 2022

       The parties, through undersigned counsel, hereby respectfully alert the Court that

Defendant Christian Kulas intends to play two videos during his sentencing on April 26, 2022.

The two videos, which are each less than one minute long, are those that were filed as Exhibit L

in support of his Sentencing Memorandum (ECF No. 36).

       The Government does not intend to present any video evidence during sentencing.

       Neither party intends to call any witnesses during sentencing.



Dated: April 25, 2022


Respectfully submitted,

/s/ Rachel M. Cannon                        /s/ Michael J. Friedman
Rachel M. Cannon                            Michael J. Friedman
STEPTOE & JOHNSON LLP                       U.S. Attorney’s Office for the District of Columbia
227 W. Monroe Street, Suite 4700            555 Fourth Street, NW
Chicago, IL 60606                           Washington, DC 20530
(212) 577-1270                              (202) 252-6765
rcannon@steptoe.com                         Michael.friedman@usdoj.gov

/s/ Brian M. Heberlig
Brian M. Heberlig
        Case 1:21-cr-00397-TFH Document 41 Filed 04/25/22 Page 2 of 3




STEPTOE & JOHNSON LLP
1330 Connecticut Avenue, NW
Washington, DC 20036
(202) 429-3000
bheberlig@steptoe.com
Counsel for Christian Kulas




                                      2
          Case 1:21-cr-00397-TFH Document 41 Filed 04/25/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY the foregoing Parties’ Joint Notice Regarding Sentencing

Proceedings On April 26, 2022 was served upon counsel of record automatically via CM/ECF

this 25th day of April 2022.




                                                   s/ Rachel M. Cannon
                                                   Rachel M. Cannon
                                                   Steptoe & Johnson LLP
